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                                                                 ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                     DOC#:
SOUTHERN DISTRICT OF NEW YORK                                    DATE FILED: 06/22/2022

 FRHUEB, INC.,

                                Plaintiff,
                                                             21-CV-7395 (RA)(KHP)
                         v.
                                                                      ORDER
 THIAGO SABINO DE FREITAS ABDALA
 and PRISCILA PATTO,

                                Defendants.

RONNIE ABRAMS, United States District Judge:

         In light of the fact that Judge Parker has scheduled a conference for June 30, 2022, this

Court’s conference to address Plaintiff’s motion for a preliminary injunction and to enforce the

interim injunction previously scheduled for June 24, 2022 is hereby adjourned to July 5, 2022 at

3:00 p.m. The parties shall advise the Court as to whether they would prefer to appear remotely

or in person.

SO ORDERED.
Dated:          June 22, 2022
                New York, New York

                                              __________________________________
                                              Hon. Ronnie Abrams
                                              U.S. District Judge
